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                                                                          FILED
                                                                            ~ ..·'212016
                 IN THE UNITED STATES DISTRICT COURT                     Clerk, U.S. District Court
                     FOR THE DISTRICT OF MONTANA                           D1stf!ct Of Montana
                                                                                  Billir.gs
                           BILLINGS DIVISION



UNITED STATES OF AMERICA,
                                                 CR 16-07-BLG-SPW-3
                     Plaintiff,

vs.                                                  ORDER

TEAL CHERIE HARRIS,

                     Defendant.

      For the reasons stated on the record,

      IT IS HEREBY ORDERED that the continuation of the sentencing hearing

for Teal Cherie Harris will commence on Tuesday, October 11, 2016 at 9:30 a.m.

in the James F. Battin U.S. Courthouse, Billings, Montana.

      The Clerk shall forthwith notify the parties of the making of this Order.


      DA TED this   .£!Lsf-day of September, 201 .
                                              SUSAN P. WAI IERS
                                              U.S. DISTRICT JUDGE




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